           Case 1:22-cv-01968-JMF Document 88 Filed 09/09/22 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
ROBERT GEISER, On Behalf of Themselves and All                         :
Others Similarly Situated, et al.,                                     :
                                                                       :     22-CV-1968 (JMF)
                                    Plaintiffs,                        :
                                                                       :          ORDER
                  -v-                                                  :
                                                                       :
THE SALVATION ARMY,                                                    :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

       In light of Defendant’s new motion to dismiss, see Docket No. 85, Defendant’s earlier
motion to dismiss filed at Docket No. 77 is hereby DENIED as moot. Plaintiff’s opposition to
the new motion to dismiss is due by September 22, 2022. Defendant’s reply, if any, is due by
September 29, 2022.

        The Clerk of Court is directed to terminate Docket No. 77.

        SO ORDERED.

Dated: September 9, 2022                                   __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
